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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 In re

 CUSTOMS AND TAX ADMINISTRATION
 OF THE KINGDOM OF DENMARK                                          MASTER DOCKET
 (SKATTEFORVALTNINGEN) TAX
 REFUND SCHEME LITIGATION                                           18-md-2865 (LAK)

 This document relates to:       18-cv-09838


                    ACER INVESTMENT GROUP, LLC’S ANSWER TO
                  SKATTEFORVALTNINGEN’S AMENDED COMPLAINT

         Defendant Acer Investment Group, LLC (“Acer”) denies any wrongdoing in relation to the

Linden Associates Defined Benefit Plan’s (“Linden Plan”) requests for refunds of dividend-

withholding tax and hereby answers the amended complaint of Plaintiff Skatteforvaltningen

(“SKAT”).

         This answer is based on Acer’s investigations to date. Acer reserves the right to supplement

or amend this answer during this litigation as new information is learned. Acer denies any

allegation not specifically admitted in this answer. To the extent that the headings of Plaintiff’s

amended complaint require a response, they are hereby denied. By filing this answer in the United

States District Court for the Southern District of New York, Acer does not waive its right to have

SKAT’s claims transferred to the United States District Court for the District of Utah for purposes

of trial. Acer demands a jury trial on all issues so triable.

         Acer hereby answers SKAT’s amended complaint as follows:

                                         INTRODUCTION

         1.     Acer admits the allegations in paragraph 1.

         2.     Acer denies the allegations in paragraph 2.
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       3.      Acer denies any allegations in the first sentence of paragraph 3 with respect to itself

and lacks knowledge and information sufficient to form a belief as to the truth of the remaining

allegations in the first sentence of paragraph 3 and therefore denies them. The remainder of

paragraph 3 states legal conclusions to which no response is required, but to the extent any further

response is required, Acer denies the allegations in paragraph 3.

       4.      Acer lacks knowledge or information to form a belief as to the truth of the

allegations in the first sentence of paragraph 4 and therefore denies them, except Acer admits that

reclaim applications were submitted to SKAT, on behalf of the Linden Plan, claiming repayments

of tax withheld on shares of Danish companies. Acer denies the remaining allegations in paragraph

4.

       5.      Acer denies the allegations in paragraph 5 with respect to itself and lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 5 and therefore denies them.

       6.      Acer lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in the first sentence of paragraph 6 and therefore denies them. Acer denies the

remaining allegations in paragraph 6 with respect to itself and lacks knowledge or information

sufficient to form a belief as to the truth of the remaining allegations with respect to others.

       7.      Acer denies the allegations in paragraph 7 with respect to itself. Acer lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 7 and therefore denies them.

       8.      Acer lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 8 and therefore denies them, except Acer admits that SKAT stopped

paying claims for refunds of dividend-withholding tax for the Linden Plan in August 2015.



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       9.      Acer denies the allegations in subsections (a)–(c) of paragraph 9 with respect to

itself and lacks knowledge or information sufficient to form a belief as to the remaining allegations

in paragraph 9 and therefore denies them.

       10.     Acer denies the allegations in paragraph 10 with respect to itself and lacks

knowledge or information sufficient to form a belief as to the remaining allegations in paragraph

10 and therefore denies them.

       11.      Acer denies the allegations in paragraph 11 with respect to itself and lacks

knowledge or information sufficient to form a belief as to the remaining allegations in paragraph

11 and therefore denies them.

       12.     Acer denies the allegations in paragraph 12 with respect to itself and lacks

knowledge or information sufficient to form a belief as to the remaining allegations in paragraph

12 and therefore denies them.

       13.     Acer denies the allegations in paragraph 13. Acer lacks knowledge or information

sufficient to form a belief as to the truth of the allegations in footnote 2 and therefore denies them.

                                   JURISDICTION & VENUE

       14.     Paragraph 14 states a legal conclusion to which no response is required. To the

extent a response to footnote 3 is required, Acer admits that this action was first filed in the United

States District Court for the District of Utah before being transferred to this Court for pretrial

purposes only. The remainder of footnote 3 contains legal conclusions to which no response is

required.

       15.     Paragraph 15 states a legal conclusion to which no response is required.




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                                            PARTIES

       16.     Acer admits the allegations in the first sentence of paragraph 16. Acer lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 16 and therefore denies them.

       17.     Acer admits the allegations of paragraph 17 except to the extent the allegations

suggest the Linden Plan is not a trust forming part of a pension, profit sharing, or stock bonus plan

qualified under section 401(a) of the United States Internal Revenue Code, exempt from taxation

under section 501(a) of the United States Internal Revenue Code, and a resident of the United

States of America for U.S. tax purposes. Acer further states that the Linden Plan is a pension plan

qualified under section 401(a) of the United States Internal Revenue Code, exempt from taxation

under section 501(a) of the United States Internal Revenue Code, and that it is a resident of the

United States of America for U.S. tax purposes. Acer further admits that the Linden Plan listed its

address as 5532 Lillehammer Lane, Suite 103, Park City, Utah 84098, USA for tax refund requests.

Acer further admits that each member of the Linden Plan is a citizen of the United States.

       18.     Acer admits the allegations in paragraph 18.

       19.     Acer denies that the refund claims submitted on behalf of the Linden Plan were

fraudulent. Acer admits the remaining allegations in paragraph 19.

                         AS TO SKAT’S FACTUAL ALLEGATIONS

       20.     Paragraph 20 states a legal conclusion to which no response is required.

       21.     Paragraph 21 states a legal conclusion to which no response is required.

       22.     Paragraph 22 states a legal conclusion to which no response is required.

       23.     The first and second sentences of paragraph 23 state legal conclusions to which no

response is required. Acer denies the allegations in the third sentence of paragraph 23 with respect



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to the Linden Plan. Acer lacks knowledge or information sufficient to form a belief as to the truth

of the remaining allegations in paragraph 23 and therefore denies them. To the extent a response

to footnote 4 is required, Acer admits the assertion in footnote 4.

       24.     Acer admits the allegations in paragraph 24 as to the Linden Plan except to the

extent SKAT alleges that the Linden Plan’s representations were not truthful.           Acer lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 24 and therefore denies them.

       25.     Acer lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 25 and therefore denies them.

       26.     Acer lacks knowledge or information sufficient to form a belief regarding SKAT’s

purported investigation or what SKAT “determined,” but Acer denies that those things SKAT

purportedly “determined” with respect to Acer and the Linden Plan are true. Acer denies the

remainder of the allegations in paragraph 26 with respect to itself and the Linden Plan and lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 26 and therefore denies them.

       27.     Acer denies the allegations in paragraph 27 with respect to the Linden Plan and

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 27 and therefore denies them.

       28.     Acer admits that the Linden Plan received payments with respect to its tax refund

claims from Goal Taxback Limited. Acer lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in paragraph 28 and therefore denies them.




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       29.      Acer admits that documents as described in subsections (a)–(e) of paragraph 29

were submitted to SKAT on the Linden Plan’s behalf. Acer denies the remaining allegations in

paragraph 29.

       30.      Acer denies the allegations in paragraph 30 with respect to the Linden Plan and

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 30 and therefore denies them.

       31.      Acer denies the allegations in paragraph 31 with respect to the Linden Plan and

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 31 and therefore denies them.

       32.      Acer lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 32 and therefore denies them.

       33.      Acer lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 33 and therefore denies them.

       34.      Acer lacks knowledge or information sufficient to form a belief regarding what

SKAT “determined,” but Acer denies that those things SKAT purportedly “determined” with

respect to Acer are true. Acer admits it is in the United States. Acer denies the remainder of the

allegations in paragraph 34 with respect to itself and lacks knowledge or information sufficient to

form a belief as to the truth of the remaining allegations in paragraph 34 and therefore denies them.

       35.      Acer lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 35. Acer further states that the Linden Plan submitted withholding-

tax refund claims to SKAT through Goal Taxback Limited and that, on information and belief,

those applications included the documentation described in paragraph 29 of SKAT’s amended

complaint.



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       36.     Acer denies that fraudulent withholding-tax refund claims were submitted on behalf

of the Linden Plan. Acer admits that the Linden Plan represented that Schulman had the authority

to act on the Linden Plan’s behalf with respect to its withholding-tax refund claims. Acer lacks

knowledge or information sufficient to form a belief as to the truth of the remaining allegations in

paragraph 36 and therefore denies them.

       37.     Acer denies that fraudulent withholding-tax refund claims were submitted on behalf

of the Linden Plan. Acer admits that the Linden Plan represented that Goal Taxback Limited was

its agent and had authority to act on its behalf with respect to the Linden Plan’s withholding-tax

refund claims. Acer lacks knowledge or information sufficient to form a belief as to the truth of

the remaining allegations in paragraph 37 and therefore denies them.

       38.     Acer admits that withholding-tax refund claims were submitted to SKAT on the

Linden Plan’s behalf in which the Linden Plan described its shareholdings in and receipt of

dividends from Danish companies. Acer lacks knowledge or information sufficient to form a belief

as to the truth of the remaining allegations in paragraph 38 and therefore denies them.

       39.     Acer denies the allegations in paragraph 39.

       40.     Acer denies the allegations of paragraph 40.

       41.     The first sentence of paragraph 41 states legal conclusions to which no response is

required, but to the extent a response is required, they are denied. The remainder of paragraph 41

is denied.

       42.     Acer denies the allegations in paragraph 42.

       43.     The second sentence of paragraph 43 is denied. The third sentence of paragraph 43

contains legal conclusions to which no response is required. Acer denies the remainder of the

allegations in paragraph 43.



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       44.     Acer denies the allegations in paragraph 44.

       45.     Acer denies that fraudulent withholding-tax refund claims were submitted on behalf

of the Linden Plan. Acer denies SKAT made payments to the Linden Plan but rather admits, on

information and belief, that Goal Taxback received payments from Denmark and/or SKAT. Acer

lacks knowledge or information sufficient to form a belief as to the truth of the remaining

allegations in paragraph 45 and therefore denies them.

       46.     Acer denies the allegations in paragraph 46, except Acer admits that Schulman was

the Linden Plan’s sole participant.

       47.     Acer admits that tax refund claims, which speak for themselves, were submitted to

SKAT. Acer admits that the 5532 Lillehammer Lane address was Acer’s address.

       48.     Acer lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in paragraph 48 and therefore denies them. Acer admits Schulman executed a

power of attorney authorizing Goal Taxback Limited to act on behalf of the Linden Plan with

respect to the Linden Plan’s withholding-tax refund claims.

       49.     Acer admits that a power of attorney, which speaks for itself, was to accompany

withholding-tax refund claims that were submitted to SKAT on the Linden Plan’s behalf. Acer

denies the remaining allegations in paragraph 49.

       50.     Paragraph 50 contains legal conclusions to which no response is required.

       51.     Acer denies the allegations in paragraph 51.

       52.     Acer denies the allegations in paragraph 52 with respect to itself and the Linden

Plan and lacks knowledge or information sufficient to form a belief as to the truth of the allegations

with respect to others and therefore denies them.




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       53.     Acer denies the allegations in paragraph 53 with respect to itself and lacks

knowledge or information sufficient to form a belief as to the truth of the allegations with respect

to others and therefore denies them. Acer admits Goal Taxback was authorized to submit

withholding tax refund applications for the Linden Plan.

       54.     Acer lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in the first sentence of paragraph 54 and therefore denies them. Acer denies the

remainder of the allegations in paragraph 54.

       55.     Any “claim form,” as described in paragraph 55, speaks for itself. Acer admits that

certain claim forms were submitted to SKAT on the Linden Plan’s behalf. Acer denies the

remainder of the allegations in paragraph 55.

       56.     Acer lacks knowledge or information sufficient to form a belief as to the truth of

the allegations in the first sentence of paragraph 56 and therefore denies them. Acer denies the

remainder of the allegations in paragraph 56 with respect to itself and the Linden Plan and lacks

knowledge or information sufficient to form a belief as to the truth of the allegations with respect

to others and therefore denies them.

       57.     Acer admits that “tax vouchers,” which speak for themselves, were submitted to

SKAT on the Linden Plan’s behalf. Acer lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in paragraph 57 and therefore denies them.

       58.     Acer admits that “tax vouchers,” which speak for themselves, were submitted to

SKAT on the Linden Plan’s behalf. Acer lacks knowledge or information sufficient to form a

belief as to the truth of the remaining allegations in paragraph 58.

       59.     Acer denies the allegations in paragraph 59.




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        60.     Acer admits that the Linden Plan authorized Acer to act as its representative and

agent with ED&F Man Capital Markets Ltd. Acer denies the remainder of the allegations in

paragraph 60.

        61.     Acer denies the allegations in paragraph 61.

                          AS TO PLAINTIFF’S CAUSES OF ACTION

                                           COUNT I
                       (Fraud − Against Defendants Linden and Schulman)

        62.     Acer repeats and reasserts its responses to each preceding paragraph as though

stated fully herein.

        63.     Paragraph 63 contains allegations related a claim that is not asserted against Acer,

and therefore no response is required. To the extent a response is required, Acer denies the

allegations in paragraph 63.

        64.     Paragraph 64 contains allegations related a claim that is not asserted against Acer,

and therefore no response is required. To the extent a response is required, Acer denies the

allegations in paragraph 64.

        65.     Paragraph 65 contains allegations related a claim that is not asserted against Acer,

and therefore no response is required. To the extent a response is required, Acer denies the

allegations in paragraph 65.

        66.     Paragraph 66 contains allegations related a claim that is not asserted against Acer,

and therefore no response is required. To the extent a response is required, Acer denies the

allegations in paragraph 66.




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                                            COUNT II
                       (Aiding and Abetting Fraud − Against All Defendants)

        67.     Acer repeats and reasserts its responses to each preceding paragraph as though

stated fully herein.

        68.     Acer denies the allegations in paragraph 68.

        69.     Acer denies the allegations in paragraph 69.

        70.     Acer denies the allegations in paragraph 70.

        71.     Acer denies the allegations in paragraph 71.

        72.     Acer denies the allegations in paragraph 72.

        73.     Acer denies the allegations in paragraph 73.

                                         COUNT III
                          (Unjust Enrichment − Against All Defendants)

        74.     Acer repeats and reasserts its responses to each preceding paragraph as though

stated fully herein.

        75.     Paragraph 75 states a legal conclusion to which no response is required. To the

extent any further response is required, Acer denies the allegations in paragraph 75.

        76.     Acer denies the allegations in paragraph 76.

        77.     Acer denies the allegations in paragraph 77.

        78.     Acer denies the allegations in paragraph 78.

                                        COUNT IV
                        (Money Had & Received − Against All Defendants)

        79.     Acer repeats and reasserts its responses to each preceding paragraph as though

stated fully herein.

        80.     Acer denies the allegations in paragraph 80.

        81.     Acer denies the allegations in paragraph 81.


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                                        COUNT V
          (Negligent Misrepresentation − Against Defendants Linden & Schulman)

        82.     Acer repeats and reasserts its responses to each preceding paragraph as though

stated fully herein.

        83.     Paragraph 83 states legal conclusions to which no response is required. To the

extent a further response is required, Acer denies the allegations in paragraph 83.

        84.     Paragraph 84 states legal conclusions to which no response is required. To the

extent a further response is required, Acer denies the allegations in paragraph 84.

        85.     Paragraph 85 states legal conclusions to which no response is required. To the

extent a further response is required, Acer denies the allegations in paragraph 85.

        86.     Paragraph 86 states legal conclusions to which no response is required. To the

extent a further response is required, Acer denies the allegations in paragraph 86.

        87.     Paragraph 87 states legal conclusions to which no response is required. To the

extent a further response is required, Acer denies the allegations in paragraph 87.


                       AS TO PLAINTIFF’S REQUEST FOR RELIEF

        The remainder of the amended complaint sets forth SKAT’s prayers for relief, to which no

response is required. To the extent that a response is required, Acer denies that SKAT is entitled

to the relief it seeks and prays that the Court dismiss SKAT’s claims and order such other relief as

the Court deems just and necessary.

                                              * * *

                                 AFFIRMATIVE DEFENSES

        Acer incorporates by reference the denials and admissions set forth above and assert the

following affirmative defenses. Acer does not intend to assume the burden of proof with respect



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to those matters as to which Plaintiff bears the burden. This statement of defenses is based on

Acer’s investigation to date, and Acer reserves the right to supplement, amend, or withdraw its

defenses during the course of litigation as new information is learned.

                                   First Affirmative Defense

       The amended complaint fails to state a claim upon which relief can be granted.

                                  Second Affirmative Defense

       SKAT’s claims are barred, in whole or in part, (i) by the Convention and Protocol between
the United States and Denmark for the Avoidance of Double Taxation and the Prevention of Fiscal
Evasion with Respect to Taxes on Income, (ii) the Revenue Rule, and/or (iii) the Penal Law Rule.

                                   Third Affirmative Defense

       SKAT’s claims are barred, in whole or in part, because at all relevant times Acer acted in
good faith and without intent to defraud and did not make any material misstatements or omissions
and because Acer did not commit any act that constituted substantial assistance to any fraud.

                                  Fourth Affirmative Defense

       SKAT’s claims are barred, in whole or in part, because the Linden Plan was entitled to the
withholding tax refunds at issue.

                                   Fifth Affirmative Defense

       SKAT’s claims are barred, in whole or in part, by the applicable statutes of limitations.

                                   Sixth Affirmative Defense

         SKAT’s claims are barred, in whole or in part, because Acer never authorized the pursuit
or filing of any fraudulent refund claims.

                                  Seventh Affirmative Defense

        SKAT’s claims are barred, in whole or in part, because Acer did not receive the amounts
Plaintiff alleges it paid out in withholding tax refunds.

                                  Eighth Affirmative Defense

        SKAT’s claims are barred, in whole or in part, by the doctrines of unclean hands, waiver,
laches, and/or estoppel.




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                                   Ninth Affirmative Defense

       SKAT’s claims are barred, in whole or in part, due to the failure to join necessary or
indispensable parties.

                                   Tenth Affirmative Defense

       SKAT’s claims are barred, in whole or in part, because the Court does not have jurisdiction
over SKAT’s claims as SKAT lacks standing under Article III of the U.S. Constitution.

                                  Eleventh Affirmative Defense

       SKAT’s claims are barred, in whole or in part, because SKAT does not have authority to
pursue its claims.

                                  Twelfth Affirmative Defense

         SKAT’s claims are barred, in whole or in part, because SKAT failed to exhaust
administrative remedies and other legal remedies available to it and because the issues presented
in this action are the subject of a collateral proceeding in Denmark.

                                 Thirteenth Affirmative Defense

         SKAT’s claims are barred or limited because if SKAT is awarded any damages or
restitution, they are, in whole or in part, the result of Plaintiff’s own culpable conduct, including
but not limited to contributory negligence and assumption of the risk, and/or the negligent,
wrongful, or unauthorized acts of Plaintiff or others, for which Acer is not liable.

                                Fourteenth Affirmative Defense

         SKAT’s claims are barred or limited because if SKAT is awarded any damages or
restitution, they are, in whole or in part, the result of ED&F’s conduct, and ED&F should be liable
to SKAT.

                                  Fifteenth Affirmative Defense

         SKAT’s claims are barred or limited because any harm to SKAT was caused by the actions
of third parties over whom Acer had no control, and Acer intends to apportion fault to such third
parties.

                                 Sixteenth Affirmative Defense

       SKAT’s claims are barred because of collateral estoppel and or res judicata.




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                               Seventeenth Affirmative Defense

       SKAT’s claims are barred, in whole or in part, because they raise non-justiciable political
questions.

                                Eighteenth Affirmative Defense

       SKAT’s claims are barred, in whole or in part, because the Court lacks personal jurisdiction
over Acer, including any alter egos.

                                        JURY DEMAND

       Acer Investment Group, LLC demands a jury trial on all issues so triable.

                                   REQUEST FOR RELIEF

       WHEREFORE, Acer Investment Group, LLC respectfully requests that this Court enter

judgment in its favor and against SKAT as follows:

           1. Enter judgment in favor of Acer Investment Group, LLC and against SKAT on each
              count of the amended complaint and dismiss all of SKAT’s claims against Acer
              Investment Group, LLC, with prejudice;

           2. Award Acer Investment Group, LLC its attorneys’ fees and costs; and

           3. Grant such other preliminary, permanent, compensatory, or punitive relief against
              SKAT in favor of Acer Investment Group, LLC as the Court deems just and proper.




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January 15, 2021                Respectfully submitted,

                                K&L GATES LLP,


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